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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION



 FEDERAL TRADE COMMISSION et.al.                                 NOTICE OF FILING
                 Plaintiffs v.
                                                                        EXHIBIT E
 ALCOHOLISM CURE CORPORATION,
 et. al.
                  Defendants                               #3:10-CV-00266-MMH–JBT




 Due to prior omission, I am filing Exhibit E to Fourth Amended Affidavit to Purge Contempt (Dkt. 226)

                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 4, 2016, I electronically filed with the Clerk of the Court using
 CM/ECF this Notice.

                                                                 Respectfully submitted,




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